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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

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SHMUEL ELIMELECH BRAUN, et al.,

                                  Plaintiff,                             Docket No:
                                                                         1:15-CV-01136(BAH)
                          -against-

THE ISLAMIC REPUBLIC OF IRAN, et al.,

                                  Defendants.

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                         MOTION FOR JUDGMENT ON DEFAULT
                      AND TO SCHEDULE AN EVIDENTIARY HEARING

        Plaintiffs respectfully move this Court pursuant to 28 U.S.C. § 1608(e): (1) for entry of a

judgment on default as against the defendants (a) The Islamic Republic of Iran (“Iran”), (b) the

Ministry of Information and Security (“MOIS”) and (c) the Syrian Arab Republic (“Syria”) and

(2) to schedule an evidentiary hearing at which plaintiffs will present testimony and evidence in

support of their claims for relief against these defendants. In support of the motion, plaintiffs

respectfully state as follows:

        1.       The Clerk has noted these defendants’ defaults (DE 27; 30).

        2.       While entry of default normally establishes a defendant’s liability, the FSIA

provides that: “No judgment by default shall be entered . . . against a foreign state, a political

subdivision thereof, or an agency or instrumentality of a foreign state, unless the claimant

establishes his right to relief by evidence satisfactory to the court.” FSIA § 1608(e).

        3.       Accordingly, plaintiffs respectfully request that the Court schedule an evidentiary

hearing at which plaintiffs will present testimony and evidence in support of their claims for
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relief, following which plaintiffs respectfully request that the court enter a judgment on default

as against each of the defendants: (a) Iran, (b) MOIS and (c) Syria.

        4.       Due to the logistics of travel for many of plaintiffs’ witnesses and the Jewish high

holidays, which fall during the month of October this year, plaintiffs respectfully request that the

hearing not be scheduled between the following dates: September 26, 2016 and October 31,

2016.

        5.       In support of their request for a default judgment, plaintiffs intend to present

testimony on liability from the following experts: (1) Dr. Patrick Clawson to address Iran’s

provision of material support to Hamas, (2) Dr. Marius Deeb to address Syria’s provision of

material support to Hamas, (3) Arieh Spitzen, Israel Defense Forces Colonel (retired) to address

Hamas responsibility for the attack, (4) Dr. Matthew Levitt to address Iran’s provision of

material support to Hamas, and (5) Dr. Benedetta Berti to address Syria’s provision of material

support to Hamas. The sworn declarations of Dr. Patrick Clawson, Dr. Marius Deeb and Arieh

Dan Spitzen summarizing the opinions about which they will testify are attached hereto as

Exhibits 1, 2 and 3 respectively. The sworn declarations of Dr. Matthew Levitt and Dr.

Benedetta Berti summarizing their opinions are being finalized and will be filed within the next

six to eight weeks.

        6.       In support of their request for a default judgment, plaintiffs also intend to present

testimony from each of the plaintiffs regarding their damages. The following sworn declarations

are attached hereto as Exhibits 4-9, respectively:

        Exhibit 4 – Declaration of Chana Braun

        Exhibit 5 – Declaration of Shmuel Elimelech Braun

        Exhibit 6 – Declaration of Esther Braun




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         Exhibit 7 – Declaration of Murray Braun

         Exhibit 8 – Declaration of Sara Halperin

         Exhibit 9 – Declaration of Shimshon (Sam) Halperin

         7.       In addition, plaintiffs intend to present testimony from: (1) Dr. Alan Friedman,

MD as a medical expert concerning plaintiff Shmuel Elimelech Braun’s physical damages and

(2) Dr. Rael Strous, MD as a psychiatric expert concerning each of plaintiffs’ psychological and

emotional damages. The sworn declaration of Dr. Alan Friedman is attached hereto as Exhibit

10. The sworn declarations of Dr. Strous for each plaintiff are attached hereto as Exhibits 11-16,

respectively.

         WHEREFORE, plaintiffs respectfully request that the Court schedule an evidentiary

hearing at which plaintiffs will present testimony and evidence in support of their claims for

relief, following which plaintiffs respectfully request that the court enter a judgment on default

as against each of the defendants – Iran, MOIS and Syria, and grant any other relief the Court

finds just and proper.



Dated:     Brooklyn, New York
           May 25, 2016
                                                       Respectfully submitted,

                                                       THE BERKMAN LAW OFFICE, LLC
                                                       Attorneys for the Plaintiff


                                                       by:
                                                             Robert J. Tolchin

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                                 CERTIFICATE OF SERVICE


         The undersigned hereby certifies that on the date indicated below a true copy of the

foregoing was served via ECF on all counsel of record herein:


Dated:    Brooklyn, New York
          May 25, 2016

                                                   Robert J. Tolchin
